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  Stephanie Lack used excessive force against Plaintiff during an unjustified traffic
  stop, and fabricated evidence afterwards. Plaintiff was charged with assault, but the
  charges were later dropped. These allegations are the basis of counts 1-4, which
  assert claims under 42 U.S.C. § 1983 against McFarland and Lack for violating
  Plaintiff’s constitutional rights. These counts are not challenged in this Motion.

         Plaintiff also asserts two claims under 42 U.S.C. § 1983 against the City of
  Pasadena: the Fifth Claim, alleging that the City violated Plaintiff’s Constitutional
  rights by deliberately suppressing exculpatory evidence, and the Sixth Claim
  alleging that the City conspired to suppress that exculpatory evidence. In keeping
  with the briefing, the Court will refer to these together as Plaintiff’s Brady claims.

         Both claims arise from the same factual basis: that the City suppressed
  evidence that on May 17, 2019, Officer McFarland was a shooting officer in the
  officer involved shooting of Daniel Warren (“Warren Incident”). See FAC ¶¶ 82-
  92. This evidence includes a 234-page investigation report about the Warren
  Incident, all of it dated between May 17, 2019 and July 10, 2019. FAC ¶ 99.
  Plaintiff asserts that the Warren Incident and the records related to it are Brady-
  type material. Plaintiff asserts that he sought such material by several means
  including a September 23, 2019 Public Records Act request (FAC ¶¶ 96-101); an
  August 7, 2019 discovery request in the criminal case (FAC ¶¶ 94-95); a
  September 24, 2020 motion in the criminal case that was granted with production
  due by November 2, 2020 (FAC ¶¶ 102-103); and a November 12, 2020 Pitchess
  motion that was granted on November 30, 2020 (FAC ¶¶ 104-105). Plaintiff
  alleges that the City did not timely produce the Warren Incident materials.

         Plaintiff also alleges, however, that on November 2, 2020, a Pasadena Police
  Department whistleblower disclosed the Warren Incident materials to the State
  Court. FAC ¶ 101. The City Attorney’s Office tried to get it back, saying it was
  inadvertently produced. FAC ¶ 104. But Superior Court Judge Terri Schwartz
  disagreed and ordered the materials produced to the Los Angeles County Deputy
  District Attorney (“DDA”), which occurred on March 9, 2021. Shortly thereafter,
  the DDA produced the materials to the Defense, and on April 22, 2021, the DDA
  dismissed all of the charges against Plaintiff, stating on the record that these
  materials made it impossible to pursue the charges. SAC ¶¶ 110-111.

          Plaintiff’s overall theory is that the City had an obligation to disclose the

  commentary. Identifying the operative factual allegations remains unnecessarily
  burdensome.

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  Warren Incident materials and didn’t do so timely, either to the DDA or to
  Plaintiff. As a result, Plaintiff was wrongfully prosecuted. That the DDA dismissed
  the charges shortly after receiving the Warren Incident materials demonstrates that
  Plaintiff wouldn’t have been charged in the first place had the City timely
  disclosed the Warren Incident materials.

         Defendant City now moves to dismiss Plaintiff’s Brady claims on several
  bases. First, Defendant argues that Brady was satisfied by the District Attorney’s
  (“D.A.”) Office’s presence at the Warren Incident. Second, the City argues that its
  allegedly deficient response to the Public Records Act request cannot sustain
  Plaintiff’s constitutional claim. Third, the City argues that the Warren Incident
  materials were disclosed timely on November 2, 2020, and therefore there was no
  Brady violation.

  II.     LEGAL STANDARD

         Federal Rule of Civil Procedure (“Rule”) 8 requires a plaintiff to present a
  “short and plain statement of the claim showing that the pleader is entitled to
  relief.” Fed. R. Civ. P. 8(a)(2). Under Rule 12(b)(6), a defendant may move to
  dismiss a pleading for “failure to state a claim upon which relief can be granted.”
  Fed. R. Civ. P. 12(b)(6).

          To defeat a Rule 12(b)(6) motion to dismiss, the complaint must allege
  enough facts to “give the defendant fair notice of what the . . . claim is and the
  grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
  (2007). Labels, conclusions, and “a formulaic recitation of the elements of a cause
  of action will not do.” Id. The complaint must also be “plausible on its face,” that
  is, it “must contain sufficient factual matter, accepted as true, to ‘state a claim to
  relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
  (quoting Twombly, 550 U.S. at 570). A plaintiff’s “factual allegations must be
  enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at
  555. “The plausibility standard is not akin to a ‘probability requirement,’ but it
  asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal,
  556 U.S. at 678.

         A complaint may be dismissed under Rule 12(b)(6) for the lack of a
  cognizable legal theory or the absence of sufficient facts alleged under a
  cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th
  Cir. 1988). When ruling on a Rule 12(b)(6) motion, “a judge must accept as true all
  of the factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S.

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  89, 94 (2007). But a court is “not bound to accept as true a legal conclusion
  couched as a factual allegation.” Iqbal, 556 U.S. at 678 (2009) (internal quotation
  marks omitted).

         A court generally may not consider materials other than facts alleged in the
  complaint and documents that are made a part of the complaint. Anderson v.
  Angelone, 86 F.3d 932, 934 (9th Cir. 1996). However, a court may consider
  materials if (1) the authenticity of the materials is not disputed and (2) the plaintiff
  has alleged the existence of the materials in the complaint or the complaint
  “necessarily relies” on the materials. Lee v. City of Los Angeles, 250 F.3d 668, 688
  (9th Cir. 2001) (citation omitted). The court may also take judicial notice of
  matters of public record outside of the pleadings and consider them for purposes of
  the motion to dismiss. Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir.
  1988); Lee, 250 F.3d at 689-90.

         In federal court, “[in] alleging fraud or mistake, a party must state with
  particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).
  “Rule 9(b) requires a plaintiff averring fraud to plead the ‘who, what, when, where,
  and how’ of the alleged misconduct.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d
  1097, 1106 (9th Cir. 2003)

 III.     DISCUSSION

        Because Plaintiff’s claims are rooted in the Due Process Clause of the
  Fourteenth Amendment as recognized by Brady and its progeny, the Court begins
  with an overview of Brady’s disclosure requirements. The Court will then address
  the parties’ arguments.

     A. Brady’s Disclosure Requirements

         Brady v. Maryland, 373 U.S. 83, 87 (1963) held that prosecutors are
  constitutionally obligated under the Fourteenth Amendment to disclose “evidence
  favorable to an accused . . . [that] is material either to guilt or to punishment.” The
  prosecutor must turn over exculpatory evidence, but “Brady suppression [also]
  occurs when the government fails to turn over even evidence that is ‘known only to
  police investigators and not to the prosecutor.’ ” Youngblood v. W. Virginia, 547
  U.S. 867, 869–70 (2006) (state trooper’s alleged destruction of exculpatory
  evidence could be a Brady violation).

          The Supreme Court has identified “three components of a true Brady

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  violation: The evidence at issue must be favorable to the accused, either because it
  is exculpatory, or because it is impeaching; that evidence must have been
  suppressed by the State, either willfully or inadvertently; and prejudice must have
  ensued.” Strickler v. Greene, 527 U.S. 263, 281–82 (1999).

     B. The Mere Presence of a District Attorney’s Office Investigator at the
        Scene of the Warren Incident Did Not Satisfy Brady

         The City first argues that it satisfied its obligation to disclose the Warren
  Incident to the D.A.’s Office because the D.A.’s Office responds to the scene of
  every officer-involved shooting in Los Angeles County. As such, the City argues,
  someone from the D.A.’s Office responded to and already knew of the Warren
  Incident, so the City did not itself have to separately comply with Brady. The City
  is thus essentially arguing that the D.A.’s Office, and not the City, failed to comply
  with Brady by not disclosing to Plaintiff the incident it already knew about. But the
  City cites no authority for its theory that the mere presence of any person from the
  D.A.’s Office at the scene of an officer-involved shooting would satisfy whatever
  Brady obligation the City has to disclose that shooting during a subsequent
  criminal prosecution. Furthermore, Plaintiff’s Brady claims don’t rest solely on the
  mere fact of the Warren Incident, but on the 234 page report and the underlying
  evidence which were necessarily created later and which was in the City’s
  possession. See FAC ¶ 113. The Court therefore rejects the City’s argument that
  the presumed presence of someone from the D.A.’s Office satisfied the City’s
  Brady obligation to Plaintiff.

     C. The City’s Response to Attorney Mason’s Public Records Act Request
        Cannot Support Plaintiff’s Constitutional Claim.

         Plaintiff alleges that on September 23, 2019, “the defense served a Public
  Records Act [PRA] request on the Police Department under Penal Code section
  832.7(b),” FAC ¶ 96, which, as applicable, requires the disclosure of records
  relating to an officer shooting at a person or use of force that resulted in serious
  bodily injury or death. See Penal Code § 832.7(b)(1)(A)(i), (ii). The letter
  specifically asked for such records relating to Officer McFarland or Officer Lack.
  FAC ¶ 96. On October 11, 2019, the Police Department responded with a letter
  signed by the Chief of Police that said, “Please be advised that the Pasadena Police
  Department has no records that are responsive to your request.” FAC ¶ 98.
  However, the response letter was false, because the Department was in possession
  of the Warren Incident report. FAC ¶¶ 98-99. Furthermore, the response was not
  only factually incorrect but violated § 832.7(b)(7)(A)(i) and (ii), which permits an

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  agency to temporarily withhold responsive documents during an active criminal
  investigation of the use of force, but requires the agency to explain that and to
  produce the documents later. See Opp’n 13:7-28. The City’s response was
  therefore not only incorrect but also misleading in that it could have discouraged
  the requester from seeking the information by other means. Id. Plaintiff contends
  that by not disclosing this Brady-type material in response to the PRA request, the
  City violated his Fourteenth Amendment due process rights.

         The parties dispute numerous aspects of this claim, and to be sure, assuming
  the facts in the light most favorable to Plaintiff, the Police Department’s response
  to the PRA request is troubling. However, Plaintiff’s constitutional claim fails for
  several reasons.

         First, a person’s entitlement to public records pursuant to the PRA is a
  function of the statute itself, and is not a function of the United States Constitution.
  Therefore, while an agency’s incorrect or inadequate response to a PRA request
  may give rise for a claim for violating the PRA, it does not give rise to a violation
  of the Fourteenth Amendment. More specifically here, Brady rights arise in the
  context of a criminal prosecution. Plaintiff’s PRA request had no apparent
  connection to his criminal prosecution: the records were sought pursuant to the
  PRA, not pursuant to Plaintiff’s rights under Brady. Accordingly, Plaintiff cannot
  rest his Brady claims on the City’s faulty response to the PRA request.

          Furthermore, as the City points out, the request letter was sent by attorney
  Mason—who represented Plaintiff in the criminal case as well as this case—and
  nothing in the letter indicates that Mr. Mason was acting as Plaintiff’s (or anyone
  else’s) counsel when he sent the letter. See PRA Request Letter (RJN Ex. B2). In
  San Lorenzo Valley Cmty. Advocs. for Responsible Educ. v. San Lorenzo Valley
  Unified Sch. Dist., 139 Cal. App. 4th 1356, 1414 (2006), the Court of Appeal
  affirmed the trial court’s ruling that an organization did not have standing to
  enforce the PRA relative to a PRA request sent by an individual whose request did
  not identify him as acting on behalf of that organization. As the Court noted, the
  statute authorizes a plaintiff “‘to enforce his or her right to inspect or to receive a
  copy of any public record or class of public records under this chapter’ (§ 6258,
  italics added) [and] provides neither explicit nor implicit authority for one person
  to enforce another’s inspection rights.” Id., 139 Cal. App. 4th at 1415. Given that
  the PRA request here was, on its face, made by Mr. Mason, Plaintiff has no

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    The Court grants the City’s unopposed request to takes judicial notice of the
  letter. See RJN (Dkt. No. 36).

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  standing to enforce any rights triggered by that request, or to redress harms
  allegedly caused by the Police Department’s deficient response to that request.

         For these reasons, Plaintiff’s Fourteenth Amendment Brady claim based on
  the City’s allegedly deficient PRA response fails.

      D. Because the Superior Court Was In Possession of the Warren Incident
         Materials on November 2, 2020, All Other Bases of Plaintiff’s Brady
         Claim Fail.

          Although Penal Code § 832.7(b) renders some peace officer records non-
  confidential and disclosable for purposes of a PRA request, §§ 832.7(g) and (h)
  provide that discovery of peace officer personnel files is still governed by
  Evidence Code § 1043, that the criminal discovery process of the Evidence Code
  still applies, and that the Pitchess process (§832.7(a)) governs the admissibility of
  personnel records. See Penal Code §§ 832.7(g), (h). Accord Walnut Creek Police
  Officers’ Ass’n v. City of Walnut Creek, 2019 WL 1517683, at *1 (Cal.Super. Feb.
  8, 2019) (“The new subdivision (b) does not alter the Pitchess procedure; it simply
  bypasses it.”).

         A criminal defendant (or a prosecutor)3 seeking impeaching or exculpatory
  materials from peace officer’s confidential personnel records must file what is
  commonly called a Pitchess motion. If the movant makes “a threshold showing,
  the court must review the records in camera and disclose to that party any
  information they contain that is material to the underlying case.” People v. Super.
  Ct. (Johnson), 61 Cal.4th 696, 705 and fn. 2 (2015); see Evid. Code, §§ 1043,
  1045, 1046. The Court may disclose these records subject to a protective order
  limiting how the requestor may use them. The Pitchess procedure has been found
  to be consistent with, and to reflect an implementation of, the principles the
  Supreme Court set forth in Brady and as applied to discovery requests in
  Pennsylvania v. Ritchie, 480 U.S. 39, 58 (1987). See City of Los Angeles v.
  Superior Court, 29 Cal.4th 1, 14 (2003) (discussing Brady, Ritchie, and Pitchess
  scheme, and finding that they “operate[] in parallel”); see also Harrison v.

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    “Consistent with a recognition that one legislative purpose in establishing these
  [Pitchess] procedures was to protect the officers’ privacy interests ‘to the fullest
  extent possible’, we have said that this provision requires the prosecution, as well
  as the defendant, to comply with the Pitchess procedures if it wishes to obtain
  information from confidential personnel records.” People v. Super. Ct. (Johnson),
  61 Cal.4th 696, 712 (2015)

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  Lockyer, 316 F.3d 1063, 1066 (9th Cir. 2003) (the Pitchess procedure “faithfully
  follow[s]” Supreme Court precedent in Brady and Ritchie). Furthermore, because
  “Brady’s constitutional materiality standard is narrower than the Pitchess
  requirements,” Johnson, 61 Cal.4th at 711-12, a prosecutor’s compliance with
  Pitchess generally implies compliance with Brady.

        Here, the FAC alleges that the Superior Court had the Warren Incident
  materials in its possession by November 2, 2020. This was the deadline by which
  disclosure was ordered pursuant the Court’s order granting Plaintiff’s discovery
  motion and preceded by 10 days Plaintiff’s November 12 filing of his Pitchess
  motion. Given that the Pitchess process still governs the admissibility of such
  materials, and that it requires the Superior Court to review the documents before
  ordering their disclosure, the Superior Court’s possession of the Warren Incident
  materials as of November 2 satisfied Pitchess and Brady and forecloses Plaintiff’s
  Brady claims. C.f. U.S. v. Dupuy, 760 F.2d 1492, 1501 (9th Cir. 1985) (“By
  submitting the issue to the judge, the prosecutor satisfied her duty to disclose
  exculpatory material.”).

          Plaintiff argues that the Warren Incident materials were not disclosed to the
  Superior Court by the City but instead by a whistleblower within the Pasadena
  police department whose act was unauthorized. As such, Plaintiff argues, the City
  did not comply with Brady and his claim against it is viable. The surface appeal of
  Plaintiff’s argument cannot salvage his claim. Plaintiff cannot point to any
  prejudice that resulted from these materials being produced timely by a
  whistleblower instead of timely by the City itself. See Strickler, 527 U.S. at 281–82
  (prejudice is an element of a Brady claim). Had the City instead of an alleged
  whistleblower provided the materials to the Superior Court on November 2, 2020,
  Plaintiff would have been in the same position. And because the Pitchess process
  still had to be followed, Plaintiff could not have received the Warren Incident
  materials any sooner, because he filed his Pitchess motion later, on November 12.
  In sum, Plaintiff received the Warren Incident materials timely, and that he
  allegedly received them from an unauthorized whistleblower and not from the City
  itself does not give rise to a Brady claim.

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 IV.      CONCLUSION

         For the foregoing reasons, the City’s Motion to Dismiss Plaintiff’s Fifth and
  Sixth Claims against the City is GRANTED. These claims cannot be cured by
  amendment, so they are hereby DISMISSED with prejudice. As these are the
  only claims Plaintiff asserts against the City, the City is terminated from this
  action.

  IT IS SO ORDERED.




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